Case 1:21-cv-00580-JPH-MJD Document 1-5 Filed 03/10/21 Page 1 of 19 PageID #: 16




                                   EXHIBIT D
Case 1:21-cv-00580-JPH-MJD Document 1-5 Filed 03/10/21 Page 2 of 19 PageID #: 17
Case 1:21-cv-00580-JPH-MJD Document 1-5 Filed 03/10/21 Page 3 of 19 PageID #: 18
Case 1:21-cv-00580-JPH-MJD Document   1-5-CT-0001
                            30D01 -21 01   Filed 03/10/21
                                                  37      Page 4 of 19 PageID  #: 1/28/2021
                                                                            Filed: 19                                                  4:33 PM
                                                                                                                                          Clerk
                                                   Hancock Superior Court      1                                     Hancock    County, Indiana




 STATE 0F INDIANA                      )                    IN THE HANCOCK SUPERIOR                      COURT
                                       )SS:                 CIVIL DIVISION
 COUNTY OF HANCOCK                     )                    CAUSE NO.:

 TONI DAVIS,                                                )

                                                            )

                          Plaintiff,                        )

                                                            )

                  V.                                        )

                                                            )

 JUNIOR R. MURRAY,          and                             )

 BOTTOMLEY ENTERPRISES, INC.                                )

                                                            )

                          Defendants.                       )



                                                       APPEARANCE

 Type of Case:    CT

 Party Classiﬁcation: Initiating             X              Responding         _           Intervening   _
 1.     The undersigned attorney and             all   attorneys listed   on    this   form now appear   in this case for the
        following party members:


        Plaintiff   Toni Davis

 2.     Applicable attorney information for service as required by Trial Rule 5[B][2] and for case
        information as required by Trial Rules 3.1 and 77[B] is as follows:


        Attorney Name:                 Stephanie L. Cassman
        Attorney Number:               22206-49
        Firm Name:                     WAGNER REESE, LLP
        Address:                       1   1939 North Meridian Street
                                       Carmel, Indiana 46032-8529
        Telephone:                     (3 17)    569—0000
        Facsimile:                     (3 17)    569-8088
        E-Mail:                        SCassman@WagnerReese.com

 3.     There are other party members: Yes:                               N0:      XXX
 4.     Ifﬁrst initiatingparlyﬁling this case, the Clerk              is   requested t0 assign this Case Type under
        Administrative Rule 8[b][3]:                        Civil Tort


 5.     I   will accept service   by   FAX at the above-noted number: Yes:                         No:   XXX
 6.     This case involves support issues: Yes:                           No:      XXX
Case 1:21-cv-00580-JPH-MJD Document 1-5 Filed 03/10/21 Page 5 of 19 PageID #: 20




       There are related cases: Yes:                  N0:     XXX
       This form has been served 0n     all   other parties.


       Additional information required        by Local Rule:              None

 10.   The undersigned attorney has reviewed and discussed the Commitment               t0 Respect   and
       Civility with his client   and agrees   to aspire to    its   goals.




                                                   /s/ Stephanie L.           Cassman
                                                    Stephanie L. Cassman, #22206-49
Case 1:21-cv-00580-JPH-MJD Document   1-5-CT-0001
                            30D01 -21 01   Filed 03/10/21
                                                  37      Page 6 of 19 PageID  #: 1/28/2021
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                                                                                                                                        Clerk
                                                      Hancock Superior Court   1                                    Hancock   County, Indiana




 STATE OF INDIANA                        )                   IN THE HANCOCK SUPERIOR COURT
                                         )SS:                CIVIL DIVISION
 COUNTY OF HANCOCK                       )                   CAUSE NO.:

 TONI DAVIS,                                                 )

                                                             )

                                 Plaintiff,                  )

                                                             )
                    V.                                       )        JURY TRIAL REQUESTED
                                                             )

 JUNIOR R. MURRAY,                 and                       )
 BOTTOMLEY ENTERPRISES, INC.                                 )

                                                             )

                                 Defendants.                 )



               COMPLAINT FOR DAMAGES AND REQUEST FOR JURY TRIAL

          Plaintiff,     Toni Davis, by counsel, ﬁles her Complaint for Damages against the Defendants,


 Junior R. Murray and Bottomley Enterprises, Inc., and alleges as follows:


          1.        Plaintiff,     Toni Davis,   is   a resident of Marion County, Indiana.


          2.        At    all   times relevant hereto, Defendant, Junior R. Murray (hereinafter “Murray”),


 was a   citizen   0f the State ofNorth Carolina, residing in Glade Valley, Alleghany County, and was


 acting in the course and scope 0f his           employment With Bottomley           Enterprises, Inc. at the time 0f the


 collision.


          3.        At    all   times relevant hereto, Defendant, Bottomley Enterprises, Inc. (hereinafter


 “B0ttomley”), was a North Carolina corporation With                  its   principal place 0f business located in


 Ennice, North Carolina


          4.        At    all   times relevant hereto, Defendant, Bottomley, by and through             its   employee

 Defendant, Murray, was operating a commercial motor vehicle engaged in interstate commerce.


          5.        Bottomley’s registered agent for service 0f process               is,   Mitchell Bottomley, 6460


 Glade Valley Road, Ennice, North Carolina 28623.
Case 1:21-cv-00580-JPH-MJD Document 1-5 Filed 03/10/21 Page 7 of 19 PageID #: 22




             6.        At   all   relevant times, in the   Township 0f Center, City of Greenﬁeld, County of

 Hancock, State of Indiana, there was and remains a divided public thoroughfare known as                        Interstate


 70 (hereinafter “1-70”) which generally runs in an easterly and westerly direction near the 103.8


 mile marker.


             7.        On February       1,   2019, at approximately 3:15 a.m.,      Plaintiff,   Toni Davis, was a back


 seat passenger in a vehicle traveling               west on   1-70.


             8.        The vehicle      Plaintiff,   Toni Davis, was riding in came to a stop due to stopped trafﬁc


 0n westbound I-70 near the 103.8 mile marker.

             9.        At approximately the same time and place, Defendant, Murray, Who was                    acting in


 the course        and scope of his employment With Defendant, Bottomley, was operating a 2015

 Kenworth Semi-Tractor owned, maintained and controlled by Defendant, Bottomley, 0n I-70 West.

             10.       Defendant, Murray, was traveling behind the vehicle              Plaintiff,   Toni Davis was riding


 in   and   failed to stop for trafﬁc         and struck the rear of the vehicle   Plaintiff,   Toni Davis, was riding   in,



 causing a Violent rear end collision.


             11.       Defendant, Murray, while acting in the course and scope 0f his employment with


 Defendant, Bottomley, was negligent in one 0r more 0f the following ways:


                       a.          Failing to maintain a reasonable and prudent following distance, having due


                                   regard for the speed 0f vehicles, the time interval between the vehicles, and


                                   the condition 0f the roadway, Ind.       Code   § 9-21-8-14;


                       b.          Failing to maintain a reasonable and prudent speed, restricted so as to avoid


                                   colliding with another vehicle, Ind.      Code   § 9-21-8-14;


                       c.          Failing to keep his vehicle under reasonable control;


                       d.          Failing to   pay proper     attention to the roadway;
Case 1:21-cv-00580-JPH-MJD Document 1-5 Filed 03/10/21 Page 8 of 19 PageID #: 23




                   e.          Failing t0 maintain a proper lookout;


                   f.          Violating other Indiana trafﬁc laws;


                   g.          Violating United States Federal        Motor   Carrier Safety Regulations, the


                               Preventable Accident Manual as published by the U.S. Department of


                               Transportation Federal       Highway Administration Ofﬁce 0f Motor             Carriers;


                               and

                   h.          Failing to otherwise operate his vehicle With reasonable care.


            12.    Defendant, Bottomley, negligently hired, supervised, trained and retained                  its



 employee, Defendant, Murray, and negligently entrusted Defendant, Murray, With                       its   company

 vehicle.


            13.    Defendant, Bottomley, had in effect written policies and procedures that their driver


 violated, causing this collision, or in the alternative, Defendant, Bottomley,              had   in effect policies


 and procedures    that   it   knew   or should have     known were negligent and constituted a risk to the          safety


 0f motorists and passengers          like Plaintiff,   Toni Davis.


            14.    As   a direct and proximate result 0f the negligence 0f Defendant, Murray, and


  Defendant, Bottomley,         Plaintiff,   Toni Davis, sustained personal     injuries.   In order t0 treat her


  injuries   and to lessen her pain and       suffering, Plaintiff,   Toni Davis, has been required to engage the


  services of hospitals, physicians, radiologists,          and therapists   for medical care, diagnostic testing,


  physical therapy, and medication, and has incurred, and will incur in the future, medical expenses


  for such treatment.


            15.    As   a direct result 0f the accident described herein, and the injuries to           Plaintiff,   Toni


 Davis, resulting therefrom, Plaintiff, Toni DaVis’ quality 0f life has been diminished indeﬁnitely.
Case 1:21-cv-00580-JPH-MJD Document 1-5 Filed 03/10/21 Page 9 of 19 PageID #: 24




            16.        As     a direct result 0f the accident described herein, and the injuries t0    Plaintiff,   Toni


 Davis, resulting therefrom, Plaintiff, Toni Davis, experienced signiﬁcant pain, suffering, and


 emotional        distress.



            WHEREFORE, Plaintiff, Toni Davis, respectfully requests judgment against Defendants,

 Junior R. Murray and Bottomley Enterprises, Inc., in an amount reasonable t0 compensate Plaintiff,


 Toni Davis, for her damages sustained, any and                all   prejudgment   interest calculated according t0


 statute,   and any and        all   other just and proper relief.


                                                             Respectfully submitted,


                                                             WAGNER REESE, LLP

                                                             /s/ Stephanie L.   Cassman
                                                             Stephanie L. Cassman, #22206-49
                                                             Attorney for Plaintiff
Case 1:21-cv-00580-JPH-MJD Document 1-5 Filed 03/10/21 Page 10 of 19 PageID #: 25




                                         REQUEST FOR JURY TRIAL

            Comes now the   Plaintiff,   Toni Davis, by counsel, and hereby requests   this   matter be tried   by

  a jury.



                                                     Respectfully submitted,


                                                     WAGNER REESE, LLP

                                                     /s/ Stephanie L.   Cassman
                                                     Stephanie L. Cassman, #22206-49
                                                     Attorney for Plaintiffs


  WAGNER REESE, LLP
  11939 North Meridian Street
  Carmel, IN 46032
            569-0000
  Tel: (3 1 7)
  Fax: (317) 569-8088
  Email:    SCassman@WagnerReese.com
Case 1:21-cv-00580-JPH-MJD Document
                            30D01 -211-5  Filed 03/10/21
                                     01 -CT-0001  37     Page 11 of 19 PageID  #:1/28/2021
                                                                           Filed: 26                                                                                     4:33 PM
                                                                                                                                                                            Clerk
                                                             Hancock Superior Court                1                                                   Hancock    County, Indiana


  STATE OF INDIANA                               )                     IN THE HANCOCK SUPERIOR                                         COURT
                                                 )SS:                  CIVIL DIVISION
  COUNTY OF HANCOCK                              )                     CAUSE NO.:

  TONI DAVIS,

                                       Plaintiff,



                              V.
                                                                       VVVVVVVVVV




  JUNIOR R. MURRAY,                      and
  BOTTOMLEY ENTERPRISES, INC.

                                       Defendants.


                                                                     SUMMONS
  TO:         Junior R. Murray
              291 Foxﬁre Road
              Glade Valley,         NC   28627

              You       are hereby notiﬁed that       you have been sued by                    the persons         named   as Plaintiffs     and   in the Court
  indicated above.


              The nature of the                   you is stated in the Complaintfor Damages, which
                                       suit against                                                                          is   attached t0 this   Summons.
  It   also states the relief sought 0r the    demand made against you by Plaintiffs.

              An      answer or other appropriate response           in writing t0 the complaint                    must be ﬁled     either   by you 0r your
  attorney within twenty (20) days,            commencing     the day after               you receive      this   Summons,   (or twenty-three [23] days if
  the    Summons was           received by mail), 0r a judgment by default                   may be     rendered against you for the relief demanded
  by    Plaintiffs.




  must

  Dated:
              If
          assert
                   you have a claim
                   it   in

                1/29/2021
                             your written answer.




              (The following manner 0f service 0f summons
                                                                      W
                                           for relief against the Plaintiffs arising

                                                                                    r



                                                                       Hancock County

                                                                                    is
                                                                                                   from the same transaction or occurrence, you




                                                                                         hereby desig
                                                                                                       C
                                                                                                              p.
                                                                                                                      ﬁcnum

                                                                                                            CEEt/Superior Court


                                                                                                            ted.)   S EA L
                                                                                                                                      {4'1

                                                                                                                                        $1
                                                                                                                                                       (Seal)




               XX             Registered 0r certiﬁed mail.
                              Service at place 0f employment, to-wit:
                              Service on individual   — (Personal   or copy) at above address.
                              Service on agent. (Specify)    As   designated above.
                              Other service. (Specify)


              WAGNER REESE, LLP                                                             Telephone:              (317) 569-0000
              11939 North Meridian Street                                                   Facsimile:              (317) 569-8088
              Carmel, Indiana 46032-8529                                                    E—Mail:                  SCassman@wagnerreese.com
Case 1:21-cv-00580-JPH-MJD Document 1-5 Filed 03/10/21 Page 12 of 19 PageID #: 27


                                            SHERIFF’S              RETURN ON SERVICE OF SUMMONS
         I   hereby certify that   I   served this        summons 0n the                   day 0f                                   ,
                                                                                                                                        20


  (1)    By      delivering    a       copy          of    the     summons      and       a       copy       of     the      complaint          to   the     Defendant,


  (2)    By leaving a copy 0f the summons and a copy 0f the complaint at
                                                                                                    which     is   the dwelling place or usual place of
         abode 0f                                                                                                                 and by mailing a copy of said
         summons t0     said Defendant at the above address.

  (3)    Other Service 0r Remarks:



         Sheriff s Costs                                            Sheriff
                                                                              By:
                                                                                          Deputy

                                                           CLERK’S CERTIFICATE OF MAILING

  I   hereby certify that 0n the                 day 0f                             ,   20—, I mailed a copy 0f this summons                         and a copy 0f the
  complaint to the Defendant,                                                                 ,   by                                         mail, requesting a return
  receipt at the address      ﬁlmished by the             Plaintiffs.



                                                                              Clerk,    Hancock County Superior Court
  Dated:                                    ,
                                                20          .                 By:
                                                                                          Deputy

                                                RETURN OF SERVICE OF SUMMONS BY MAIL
  I   hereby certify that the attached return receipt was received by                                  me showing           the   Summons and          a copy of the
  complaint mailed to Defendant,                                                          ,
                                                                                              was accepted by              the Defendant         0n the            day
  of                               ,
                                       20

  I   hereby certify that the attached return receipt was received by                              me   showing          that the   summons and           a copy of the
  complaint was returned not accepted 0n the          day 0f                                                         ,   20—.

  I   hereby certify that the attached return receipt was received by                              me   showing          that the   summons and           a copy 0f the
  complaint mailed to Defendant                                                                   was accepted by                                                   on
  behalf 0f said Defendant 0n the                         day of                                         ,   20—.


                                                                              Clerk,    Hancock County Superior Court
  Dated:                                    ,
                                                20          .                 By:
                                                                                          Deputy
Case 1:21-cv-00580-JPH-MJD Document
                            30D01 -211-5  Filed 03/10/21
                                     01 -CT-0001  37     Page 13 of 19 PageID  #:1/28/2021
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                                                                                                                                                                        Clerk
                                                              Hancock Superior Court                1                                               Hancock   County, Indiana


  STATE OF INDIANA                                )                     IN THE HANCOCK SUPERIOR                                      COURT
                                                  )SS:                  CIVIL DIVISION
  COUNTY OF HANCOCK                               )                     CAUSE NO.:

  TONI DAVIS,

                                        Plaintiff,



                               V.
                                                                        VVVVVVVVVV




  JUNIOR R. MURRAY,                       and
  BOTTOMLEY ENTERPRISES, INC.

                                        Defendants.


                                                                      SUMMONS
  TO:          Mitchell Bottomley, Registered Agent
               Bottomley Enterprises, Inc.
               6460 Glade Valley Road
               Ennice, NC 28623


               You       are hereby notiﬁed that       you have been sued by                    the persons     named   as Plaintiffs    and   in the Court
  indicated above.


               The nature 0f the                   you is stated in the Complaintfor Damages, which
                                        suit against                                                                       is   attached t0 this   Summons.
  It   also states the relief sought 0r the     demand made against you by Plaintiffs.

               An     answer or other appropriate response            in writing t0 the complaint                 must be ﬁled      either   by you or your
  attorney within twenty (20) days,             commencing     the day after               you receive   this   Summons,   (or twenty-three [23] days if
  the    Summons was            received by mail), 0r a judgment by default                   may be    rendered against you for the relief demanded
  by    Plaintiffs.




  must     assert   it   in   your written answer.
                1/29/2021
       ated:                                                                               376131
                                                                        Hancock County Cir

               (The following manner 0f service 0f summons                           is   hereby designated.)
               XX              Registered 0r certiﬁed mail.
                               Service at place of employment, to-wit:
                               Service on individual   — (Personal   or copy) at above address.
                               Service on agent. (Specify)    As   designated above.
                               Other service. (Specify)


               WAGNER REESE, LLP                                                              Telephone:          (317) 569-0000
               11939 North Meridian Street                                                    Facsimile:          (317) 569-8088
               Carmel, Indiana 46032-8529                                                     E—Mail:             SCassman@wagnerreese.com
Case 1:21-cv-00580-JPH-MJD Document 1-5 Filed 03/10/21 Page 14 of 19 PageID #: 29


                                            SHERIFF’S              RETURN ON SERVICE OF SUMMONS
         I   hereby certify thatI served this summons on the                               day of                                    ,
                                                                                                                                         20


  (1)    By      delivering    a       copy          of    the     summons      and       a        copy       of     the      complaint          to   the     Defendant,


  (2)    By leaving a copy 0f the summons and a copy 0f the complaint at
                                                                                                     which     is   the dwelling place or usual place of
         abode 0f                                                                                                                  and by mailing a copy 0f said
         summons t0     said Defendant at the above address.

  (3)    Other Service 0r Remarks:



         Sheriff s Costs                                            Sheriff
                                                                              By:
                                                                                           Deputy

                                                           CLERK’S CERTIFICATE OF MAILING

  I   hereby certify that 0n the                 day 0f                             ,   20—, I mailed a copy 0f this summons and a copy 0f the
  complaint to the Defendant,                                                                  ,   by                                         mail, requesting a return
  receipt at the address      ﬁlmished by the             Plaintiffs.



                                                                              Clerk,    Hancock County Superior Court
  Dated:                                    ,
                                                20          .                 By:
                                                                                           Deputy

                                                RETURN OF SERVICE OF SUMMONS BY MAIL
  I   hereby certify that the attached return receipt was received by                                   me showing           the   Summons and          a copy of the
  complaint mailed to Defendant,                                                           ,
                                                                                               was accepted by              the Defendant         0n the            day
  of                               ,
                                       20

  I   hereby certify that the attached return receipt was received by                               me   showing          that the   summons and           a copy of the
  complaint was returned not accepted 0n the          day 0f                                                          ,   20—.

  I   hereby certify that the attached return receipt was received by                               me   showing          that the   summons and           a copy 0f the
  complaint mailed to Defendant                                                                    was accepted by                                                   on
  behalf 0f said Defendant 0n the                         day of                                          ,   20—.


                                                                              Clerk,    Hancock County Superior Court
  Dated:                                    ,
                                                20          .                 By:
                                                                                           Deputy
Case 1:21-cv-00580-JPH-MJD Document 1-5 Filed 03/10/21 Page 15 of 19 PageIDFiled:
                                                                              #: 30
                                                                                  3/2/2021                                     2:58 PM
                                                                                                                                  Clerk
                                                                                                              Hancock   County, Indiana




  STATE OF INDIANA                  )                           IN   THE HANCOCK SUPERIOR COURT                    1


                                    )   SS:
  COUNTY OF HANCOCK                 )                           CAUSE NO.          30D01-2101-CT-000137

  TONI DAVIS,                                          )

                                                       )

         Plaintiff,                                    )

                                                       )
  V.                                                   )

                                                       )

  JUNIOR R.   MURRAY and                               )

  BOTTOMLEY ENTERPRISES, INC.                          )

                                                       )

         Defendants.                                   )



                          APPEARANCE BY ATTORNEY IN CIVIL CASE

  Party Classiﬁcation: Initiating       _ Responding       XX         Intervening   _
  1)     Name   0r    names 0f initiating party 0r parties:


                  Defendants Junior R. Murray and Bottomley Enterprises, Inc.


  2)     Attorney information (as applicable for service of process):


         Name:              Michael Wroblewski                              Attorney No:    25884-64
                            McKenzie     E. Hutchinson                      Attorney No:   3586 1 -49
                            KIGHTLINGER & GRAY, LLP                         Telephone: (3 17) 638-4521
                            One   Indiana Square, Suite 300                 Facsimile:   (3 17)   636-5917
                            211 N. Pennsylvania Street                      Email: mwroblewski@k-glaw.com
                            Indianapolis,     IN 46204                              mhutchinson@k-glaw.com


  3)     There are other party members: Yes            _ No_X
  4)     Will initiating party accept Fax service: Yes     _ No                X

  5)     If ﬁrst initiating party ﬁling this case, the     Clerk     is   requested to assign this case the
         following Case Type under Administrative Rule 8(b)(3):


  6)     This case involves support issues. Yes               No_X

  7)     There are related cases: Yes         _   No   1
Case 1:21-cv-00580-JPH-MJD Document 1-5 Filed 03/10/21 Page 16 of 19 PageID #: 31




  8)       This form has been served on   all   other parties: Certiﬁcate of Service   is   attached:

           Yes   E No
  9)       Additional information required by local rule.


                                                    KIGHTLINGER & GRAY, LLP


                                                    /s/Michael Wroblewski
                                                    Michael Wroblewski, Attorney N0. 25884-64
                                                    Attorneysfor Defendants Junior R. Murray and
                                                    Bottomley Enterprises,   Inc.


                                    CERTIFICATE OF SERVICE

         This is t0 certify that the undersigned ﬁled and served the foregoing electronically
  through the Court’s CM/ECF system on the following on this 2nd day of March 2021:


  Stephanie L. Cassman
  WAGNER REESE, LLP
  11939 N. Meridian     St.

  Carmel, IN 46032
  scassman@wagnerreese.com
 Attorneysfor Plaintiff


                                                           /s/Michael Wroblewski
                                                           Michael Wroblewski

  KIGHTLINGER & GRAY, LLP
  One   Indiana Square, Suite 300
  211 North Pennsylvania Street
  Indianapolis, Indiana   46204
  Telephone: (3 17) 638-4521
  mwroblewski@k—glaw.com




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Case 1:21-cv-00580-JPH-MJD Document 1-5 Filed 03/10/21 Page 17 of 19 PageIDFiled:
                                                                              #: 32
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                                                                                                                                 Clerk
                                                                                                             Hancock   County, Indiana




  STATE OF INDIANA                      )                          IN   THE HANCOCK SUPERIOR COURT                1


                                        )   SS:
  COUNTY OF HANCOCK                     )                          CAUSE NO.     30D01-2101-CT-000137

  TONI DAVIS,                                               )

                                                            )

            Plaintiff,                                      )

                                                            )
  V.                                                        )

                                                            )

  JUNIOR R.        MURRAY and                               )

  BOTTOMLEY ENTERPRISES, INC.                               )

                                                            )

            Defendants.                                     )



       DEFENDANTS JUNIOR R. MURRAY AND BOTTOMLEY ENTERPRISES, INC.’S
       MOTION FOR EXTENSION OF TIME TO ANSWER PLAINTIFF’S COMPLAINT
                               FOR DAMAGES
            Defendants, Junior R. Murray and Bottomley Enterprises,                  Inc.,   by   counsel, for their


  motion for extension of time hereby             states as follows:


            1.       Plaintiff’ s   Complaint for Damages was ﬁled herein 0n 0r about January 28, 2021.

            2.       Defendants, Junior R. Murray and Bottomley Enterprises, Inc. were served with


  Plaintiff s Complaint for         Damages 0n     0r about February 11, 2021,    by certiﬁed     mail.


            3.        Therefore, Defendants’ responses t0 the Complaint for            Damages was due 0n         0r


  before    March    6,   2021.


            4.        Counsel was just recently retained and hereby requests         thirty (3 0)   days from today


  in   Which     to ﬁle Defendants’     Answers or other pleading(s)        in response to Plaintiff’s    Complaint

  for   Damages.

            5.        The enlargement of time          is   necessary for the reason that the attorneys for the


  Defendants have not had adequate time t0 study the Complaint for Damages, confer With their


  clients   and prepare appropriate responsive pleading(s).

            6.       N0     prior enlargements 0f time have             been requested by Defendants, and the
Case 1:21-cv-00580-JPH-MJD Document 1-5 Filed 03/10/21 Page 18 of 19 PageID #: 33




  requested enlargement          is   not sought for the purpose 0f undue delay 0r to prejudice Plaintiff.


            7.           The enlargement of time requested          shall expire   on April   5,   2021.


            WHEREFORE,                Defendants, Junior R. Murray and Bottomley Enterprises,                     Inc.,   by

  counsel, respectfully request that the time prescribed within                     which     t0 serve a   motion and/or

  pleading in response t0 Plaintiff’ s Complaint for               Damages be enlarged        for a period   0f thirty (30)


  days to and including April           5,   202 1 and
                                                  ,
                                                          for all other relief proper in the premises.


                                                              KIGHTLINGER & GRAY, LLP


                                                              /s/Michael Wroblewski
                                                              Michael Wroblewski, Attorney No. 25884-64
                                                              Attorneysfor Defendants, Junior R. Murray and
                                                              Bottomley Enterprises,     Inc.


                                               CERTIFICATE OF SERVICE

            This    is    to certify that the         undersigned ﬁled and served the foregoing electronically
  through the Court’s         CM/ECF         system 0n the following 0n     this   2nd day of March 2021:

  Stephanie L. Cassman
  WAGNER REESE, LLP
  11939 N. Meridian St.
  Carmel, IN 46032
  scassman@wagnerreese.com
 Attorneysfor Plaintiff


                                                                      /s/ MichaelWroblewski
                                                                      Michael Wroblewski

  KIGHTLINGER & GRAY, LLP
  One   Indiana Square, Suite 300
  211 North Pennsylvania Street
  Indianapolis, Indiana        46204
  Telephone: (3 17) 638-4521
  mwroblewski@k-glaw.com




  777777\6093 1 636-1
Case 1:21-cv-00580-JPH-MJD Document 1-5 Filed 03/10/21 Page 19 of 19 PageID #: 34




  STATE OF INDIANA              )                                    IN   THE HANCOCK SUPERIOR COURT                        1


                                )   SS:
  COUNTY OF HANCOCK             )                                    CAUSE NO. 30D0        1   -2 1 0 1 -CT-000 1 37


  TONI DAVIS,

           Plaintiff,


  V.
                                                                                   FILED
                                                        vvvvvvvvvv




                                                                             March 3, 2021
  JUNIOR R.      MURRAY and                                               HANCOCK SUPERIOR COURT
  BOTTOMLEY ENTERPRISES, INC.                                                                                        TP


           Defendants.


       ORDER GRANTING DEFENDANTS JUNIOR R. MURRAY AND BOTTOMLEY
        ENTERPRISES, INC.’S MOTION FOR EXTENSION OF TIME TO ANSWER
                    PLAINTIFF’S COMPLAINT FOR DAMAGES

           Defendants, Junior R. Murray and Bottomley Enterprises,                 Inc.,       by   counsel, having ﬁled


  their request for a thirty (30)    day extension of time Within which                    to    respond to        Plaintiff’s


  Complaint for Damages, and the Court being duly advised                   now GRANTS          said request.


           IT IS,     THEREFORE, ORDERED            that the time within        which the Defendants, Junior R.

  Murray and Bottomley       Enterprises,       Inc.,        may answer     or otherwise respond to Plaintiff’s


  Complaint for Damages, and hereby       is,   extended t0 and including April            5,    2021.

                                          3’
           so ORDERED tMsarCh                   Zggngarch 2021.

                                                                                                          ‘‘‘‘‘‘




                                                        JUDGE, Hancock County Superior Court 1
                                                        Cody Coombs, Court Commissioner
  Distribution:


  A11 Counsel of Record




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